




















NO. 07-10-0043-CV

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL C 

&nbsp;

&nbsp;AUGUST 17, 2011



&nbsp;

&nbsp;



&nbsp;

&nbsp;

UNITED SUPERMARKETS, L.L.C., APPELLANT

&nbsp;

v.

&nbsp;

SANDRA RAMIREZ, APPELLEE 



&nbsp;

&nbsp;



&nbsp;

&nbsp;FROM THE 99TH DISTRICT
COURT OF LUBBOCK COUNTY;

&nbsp;

NO. 2005-545,560; HONORABLE WILLIAM C. SOWDER, JUDGE



&nbsp;

&nbsp;



&nbsp;

Before QUINN, C.J., and HANCOCK and
PIRTLE, JJ.

&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant, United
Supermarkets, L.L.C., appeals
the trial court's order denying its application to vacate, modify, or correct
an arbitration award in favor of Appellee, Sandra Ramirez.&nbsp; In a single issue, United asserts the trial
court erred in entering an award premised on the finding by Arbitrator Frank E.
Murchison that United was liable for Ramirez's injuries under a premises
liability theory without also finding United had actual or constructive
knowledge of a dangerous condition.&nbsp; We affirm.&nbsp; 

Background

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In December 2008, Ramirez filed her
original petition asserting United was liable for injuries she sustained when
she slipped on ice while stocking a freezer.&nbsp;
Thereafter, Ramirez and United agreed to arbitration.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
November 2009, an arbitration proceeding was held, and in December, the Arbitrator
issued his report and award.&nbsp; The
Arbitrator found in Ramirez's favor and awarded damages to Ramirez because United
was negligent (1) under a business invitee premises liability theory and (2) in
failing to provide Ramirez a safe place to work in connection with the risk of
slipping on ice buildup in the walk-in freezer.&nbsp;


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
January 2010, United filed an application to vacate, modify or correct the Arbitrator's
award.&nbsp; In its application, United only asserted
that the Arbitrator's award was contrary to Texas law asserting that actual or
constructive knowledge is necessary to support Ramirez's claim of negligence
under a premises liability theory.&nbsp; The
trial court denied United's application and this appeal followed.

Analysis

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Rule 33.1(a) of the Texas Rules of
Appellate Procedure requires, among other things, that the record show that the
trial court "ruled on [a] request, objection, or motion, either expressly
or implicitly" before a complaint may be presented for appellate
review.&nbsp; Tex. R. App. P. 33.1(a)(2)(A).&nbsp; If an
argument is presented for the first time on appeal, it is waived.&nbsp; See Marine Transport Corp. v. Methodist Hospital, 221 S.W.3d 138,
147 n.3 (Tex.App.--Houston [1st Dist.] 2006, no pet.).&nbsp; Because United's application did not
challenge the Arbitrator's determination that United was negligent in failing to
provide Ramirez a safe place to work in connection with the risk of slipping on
ice buildup in the walk-in freezer, this issue was not preserved our review.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Because
the trial court's denial of United's application, as well as the Arbitrator's
award, may have been based upon a single ground not specifically challenged by
United before the trial court and, therefore, waived on appeal, the trial
court's order must stand.&nbsp; See Malooly Brothers, Inc. v.
Napier, 461 S.W.2d 119, 121 (Tex. 1970); Reese v. Beaumont Bank, N.A., 790 S.W.2d 801, 804-05
(Tex.App.--Beaumont 1990, no pet.); Rodriguez
v. Morgan, 584 S.W.2d 558, 559 (Tex.Civ.App.--Austin 1979, writ ref'd
n.r.e.).&nbsp; Accordingly, United's
single issue is overruled.

Conclusion

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
trial court's denial of United's application is affirmed.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

Patrick
A. Pirtle

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

&nbsp;





